     Case 1:19-cr-00256-JLT-SKO Document 90 Filed 12/13/19 Page 1 of 3


 1   ANTHONY P. CAPOZZI, CSBN: 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. SHAW AVE., SUITE 102
     FRESNO, CALIFORNIA 93711
 3   PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5
 6   ATTORNEY FOR Defendant,
     ANGEL DELGADILLO, SR.
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                               ******

11   UNITED STATES OF AMERICA,                           Case No.: 1:19-CR-00256-3 LJO-SKO
12                  Plaintiff,
13          v.                                           REQUEST TO WITHDRAW AS
                                                         ATTORNEY OF RECORD; [PROPOSED]
14                                                       ORDER

15   ANGEL DELGADILLO, SR.,
16                  Defendant.
17   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
18
19          Anthony P. Capozzi, attorney for Defendant, ANGEL DELGADILLO, SR., hereby
20   moves to withdraw as attorney of record in the above entitled case. Said motion is based upon
21   the Declaration of Anthony P. Capozzi.
22
23                          DECLARATION OF ANTHONY P. CAPOZZI
24          I, ANTHONY P. CAPOZZI, DECLARE:
25          1.      I am the attorney of record for the Defendant, ANGEL DELGADILLO, SR., in
26   the above entitled case.
27          2.      I accepted the appointment to represent the Defendant in this case on or about
28   November 8, 2019, and have served as counsel of record since that date.


                                                        1
                                   REQUEST TO WITHDRAW AS ATTORNEY OF RECORD
                                       CASE NO.: 1:19-CR-00256-3 LJO-SKO
     Case 1:19-cr-00256-JLT-SKO Document 90 Filed 12/13/19 Page 2 of 3


 1             3.     I attended the initial appearance on Friday, November 8, 2019, and the Detention
 2   hearing on Wednesday, November 13, 2019.
 3             4.     A notice of appearance was not filed in this case as it remained sealed until Friday,
 4   November 22, 2019; however it was emailed to the court clerk on November 12, 2019.
 5             5.     I was out of town on November 22, 2019, and was unable to attend the
 6   Arraignment. However, I arranged to have another attorney make a special appearance on my
 7   behalf.
 8             6.     On November 22, 2019, a notice of appearance was filed by attorney Martin
 9   Taleisnik.
10             7.     It is respectfully requested that this attorney be relieved as the appointed attorney
11   of record based on the fact that the Defendant has retained private counsel.
12             I declare under penalty of perjury under the laws of the State of California that the
13   foregoing is true and correct.
14             Executed on this 11th day of December 2019, at Fresno, California.
15                                                  Respectfully submitted,
16                                            By: /s/Anthony P. Capozzi
17                                                ANTHONY P. CAPOZZI
                                                  Attorney for Defendant ANGEL DEGADILLO, SR.
18
19
20                                                   ORDER
21             For the reasons set forth above, Defense Counsel’s Request to Withdraw as Attorney of
22   Record is GRANTED.
23
24   IT IS SO ORDERED.
25
        Dated:       December 13, 2019                              /s/
26                                                          UNITED STATES MAGISTRATE JUDGE
27
28



                                                           2
                                      REQUEST TO WITHDRAW AS ATTORNEY OF RECORD
                                          CASE NO.: 1:19-CR-00256-3 LJO-SKO
     Case 1:19-cr-00256-JLT-SKO Document 90 Filed 12/13/19 Page 3 of 3


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                 3
                            REQUEST TO WITHDRAW AS ATTORNEY OF RECORD
                                CASE NO.: 1:19-CR-00256-3 LJO-SKO
